                        Case 17-12560-KJC            Doc 3063        Filed 11/27/18        Page 1 of 11



                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

                                                                            Chapter 11
         In re:
                                                                            Case No. 17-12560 (KJC)
         WOODBRIDGE GROUP OF COMPANIES, LLC, et
         al.,1                                                              (Jointly Administered)

                                            Debtors.                        Hearing Date:
                                                                                December 19, 2018 at 2:00 p.m. (ET)
                                                                            Objection Deadline:
                                                                                December 11, 2018 at 4:00 p.m. (ET)

          DEBTORS’ MOTION FOR ENTRY OF AN ORDER (I) AUTHORIZING THE SALE OF
          376 CRYSTAL CANYON DRIVE, CARBONDALE, COLORADO PROPERTY OWNED
            BY THE DEBTORS FREE AND CLEAR OF LIENS, CLAIMS, ENCUMBRANCES,
                    AND OTHER INTERESTS; (II) APPROVING THE RELATED
                PURCHASE AGREEMENT; AND (III) GRANTING RELATED RELIEF

                  Woodbridge Group of Companies, LLC and its affiliated debtors and debtors in

         possession (collectively, the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11

         Cases”) hereby move the court (this “Motion”) for entry of an order (the “Sale Order”),

         substantially in the form attached hereto as Exhibit A, pursuant to sections 105(a) and 363 of title

         11 of the United States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”), Rule 6004 of the

         Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 6004-1 of the Local

         Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the

         District of Delaware (the “Local Rules”) (i) authorizing the sale (the “Sale”) of certain real

         property owned by the Debtor Sachs Bridge Investments, LLC (the “Seller”) located at 376

         Crystal Canyon Drive, Carbondale, Colorado, 81623 (the “Land”), together with Seller’s right,


         1
                  The last four digits of Woodbridge Group of Companies, LLC’s federal tax identification number are 3603.
         The mailing address for Woodbridge Group of Companies, LLC is 14140 Ventura Boulevard #302, Sherman Oaks,
         California 91423. Due to the large number of debtors in these cases, which are being jointly administered for
         procedural purposes only, a complete list of the Debtors, the last four digits of their federal tax identification
         numbers, and their addresses are not provided herein. A complete list of this information may be obtained on the
         website of the Debtors’ noticing and claims agent at www.gardencitygroup.com/cases/WGC, or by contacting the
         undersigned counsel for the Debtors.
01:23901421.1
                      Case 17-12560-KJC          Doc 3063       Filed 11/27/18     Page 2 of 11



         title, and interest in and to the buildings located thereon and any other improvements and fixtures

         located thereon (collectively, the “Improvements” and together with the Land, the “Real

         Property”), and any and all of the Seller’s right, title, and interest in and to the tangible personal

         property and equipment listed in the Purchase Agreement and remaining on the Real Property as

         of the date of the closing of the Sale (collectively, the “Personal Property” and, together with the

         Real Property, the “Property”) on an “as is, where is” basis, free and clear of any and all liens,

         claims, encumbrances, and other interests to Jan Silfverskiold (together with any assignee, the

         “Purchaser”) pursuant to the terms and conditions of that certain Contract to Buy and Sell Real

         Estate dated as of October 13, 2018 (as may be amended, supplemented, or otherwise modified

         from time to time, the “Purchase Agreement”) by and between the Seller and the Purchaser, a

         copy of which is attached as Exhibit 1 to the Sale Order; (ii) authorizing and approving the terms

         of the Purchase Agreement, and (iii) granting certain related relief. In support of the Motion, the

         Debtors respectfully represent as follows:

                                           JURISDICTION AND VENUE

                1.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1334(b) and

         157 and the Amended Standing Order of Reference from the United States District Court for the

         District of Delaware dated as of February 29, 2012. This is a core proceeding pursuant to

         28 U.S.C. § 157(b) and, pursuant to Local Rule 9013-1(f), the Debtors consent to the entry of a

         final order by the Court in connection with this Motion to the extent that it is later determined

         that the Court, absent consent of the parties, cannot enter final orders or judgments in connection

         herewith consistent with Article III of the United States Constitution. Venue is proper before the

         Court pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory and legal predicates for the relief




01:23901421.1
                                                            2
                      Case 17-12560-KJC          Doc 3063      Filed 11/27/18      Page 3 of 11



         requested herein are 105(a) and 363 of the Bankruptcy Code, Bankruptcy Rule 6004, and Local

         Rules 2002-1, 4001-2, and 6004-1.

                                              CASE BACKGROUND

                2.      On December 4, 2017, 279 of the Debtors commenced voluntary cases under

         chapter 11 of the Bankruptcy Code. Thereafter, on February 9, 2018, March 9, 2018, March 23,

         2018, and March 27, 2018, additional affiliated Debtors (27 in total) commenced voluntary cases

         under chapter 11 of the Bankruptcy Code (collectively, the “Petition Dates”). Pursuant to

         sections 1107(a) and 1108 of the Bankruptcy Code, the Debtors are continuing to manage their

         financial affairs as debtors in possession.

                3.      The Chapter 11 Cases are being jointly administered pursuant to Bankruptcy Rule

         1015(b) and Local Rule 1015-1. No trustee has been appointed in the Chapter 11 Cases. An

         official committee of unsecured creditors (the “Committee”) was appointed in the Chapter 11

         Cases on December 14, 2017 [D.I. 79]. On January 23, 2018, the Court approved a settlement

         providing for the formation of an ad hoc noteholder group (the “Noteholder Group”) and an ad

         hoc unitholder group (the “Unitholder Group”) [D.I. 357].

                                                       THE SALE

                4.      The Property. As further detailed in the Declaration of Bradley D. Sharp in

         Support of Debtors’ Motion to Sell 376 Crystal Canyon Drive, Carbondale, Colorado Property

         filed on the date hereof (the “Sharp Declaration”), the Property consists of a vacant lot situated in

         the River Valley Ranch community in Carbondale, Colorado. The Seller purchased the Real

         Property in July 2016 for $120,000 as part of a bulk purchase of lots in the area with the

         intention of holding the various lots for future sale as vacant lots or for future possible

         development. Sharp Decl. ¶ 3. Ultimately, the Debtors determined that there would be no


01:23901421.1
                                                           3
                        Case 17-12560-KJC              Doc 3063        Filed 11/27/18        Page 4 of 11



         benefit to constructing a new home on the Real Property given the existing inventory in the

         community. Id. Accordingly, the Debtors have determined that selling the Property now on an

         “as is” basis best maximizes the value of the Property. Id. ¶ 4. The Property has not been

         formally listed on the multiple-listing service; however, the Debtors have listed comparable lots

         in the River Valley Ranch community, and all the Debtors’ listings for lots in the community

         state that other, similar lots are available for purchase upon inquiry to the listing broker. Id. In

         addition, all the Debtors’ available lots for purchase in the Aspen Glen and River Valley Ranch

         areas (including the Property) have been marketed through announcements to the brokerage

         community and advertisements in various publications. Id. The Purchaser’s all cash offer under

         the Purchase Agreement is the highest and otherwise best offer (and the only offer) the Debtors

         have received for the Property. Id. Accordingly, the Debtors determined that selling the

         Property to the Purchaser is the best way to maximize the value of the Property. Id.

                  5.       The Purchase Agreement.2 On October 11, 2018, the Purchaser made an all cash

         offer for the Property in the amount of $150,000. Id. at ¶ 5. The Debtors verbally countered the

         Purchaser’s offer at $200,000, which the Purchaser rejected. Id. The Purchaser then raised its

         offer to $165,000, which the Debtors rejected. Id. On October 14, 2018, the Purchaser further

         raised its offer to $180,000. Id. The Debtors believe that this all cash purchase price provides

         significant value, and accordingly, the Seller countersigned the Purchase Agreement on October

         15, 2018. Id. Under the Purchase Agreement, the Purchaser agreed to purchase the Property for

         $180,000, with a $5,400 initial cash deposit, and the balance of $174,600 to be paid in cash at

         closing, with no financing contingencies. Id. The deposit is being held by Commonwealth Title

         Company of Garfield County, Inc. (the “Title Insurer”) as escrow agent.

         2
                  In the event of a conflict between the description of the Purchase Agreement set forth in this Motion and
         the Purchase Agreement, the Purchase Agreement shall control.
01:23901421.1
                                                                  4
                        Case 17-12560-KJC            Doc 3063        Filed 11/27/18        Page 5 of 11



                 6.       Broker’s Fees. In connection with marketing the Property, the Debtors worked

         with Aspen Snowmass Sotheby’s International Realty (“Sotheby’s”), a non-affiliated third-party

         brokerage company, as the transaction broker for both parties.3 A true and correct copy of the

         Exclusive Right-To-Sell Listing Contract (the “Broker Agreement”) is attached hereto as Exhibit

         B. The Broker Agreement provides Sotheby’s with the exclusive and irrevocable right to market

         the Property for a fee in the amount of 5% of the contractual sale price (the “Broker Fee”). The

         Purchase Agreement is signed by Laura Gee of Sotheby’s as the transaction broker. No broker

         fees are payable in connection with the Sale other than the Broker Fee to Sotheby’s.

                 7.       In the Debtors’ business judgment, closing the Sale with Purchaser (and paying

         the associated Broker Fee) pursuant to the offer set forth in the Purchase Agreement is the best

         way to maximize value for the Debtors’ estates and is more favorable than continuing to hold

         and market the Property for sale and thereby risking obtaining a lower purchase price for the

         Property on less favorable terms, while incurring additional carrying costs for the Property.

                 8.       Other Closing Costs. In addition to the Broker Fee, the Seller must also satisfy

         certain required costs associated with the sale and transfer of title of the Property to comply with

         the Purchase Agreement (the “Other Closing Costs”). The Other Closing Costs include, but are

         not limited to, recording fees, title insurance policy costs, prorated property taxes, city and

         county transfer taxes, and other items noted on the title report for the Property. The Debtors also

         rely on outside vendors for escrow and title services in connection with property sales. In

         general, vendors are mutually agreed on by the applicable Debtors and a purchaser prior to the

         acceptance of an offer.




         3
                The particular broker at Sotheby’s who is serving as Seller’s broker, Laura Gee, is a former employee of
         Woodbridge Realty of Colorado, LLC, which is controlled by Robert Shapiro.
01:23901421.1
                                                                 5
                        Case 17-12560-KJC               Doc 3063        Filed 11/27/18         Page 6 of 11



                  9.        Absent authority to pay Other Closing Costs, the Seller will be unable to close

         the Sale and receive sale proceeds. If the Seller is unable to make these payments, the Purchaser

         may be entitled to rescind the Purchase Agreement or assert other remedies that could lead to

         additional and unnecessary claims. Accordingly, the Debtors seek the ability to pay Other

         Closing Costs in connection with the Sale.

                  10.      Proceeds of the Sale. All proceeds of the Sale (net of the Broker Fee and Other

         Closing Costs) shall be paid to the Debtors into the general account of Debtor Woodbridge

         Group of Companies, LLC, and such net proceeds shall be disbursed and otherwise treated by

         the Debtors in accordance with the Final Order on Debtors’ Motion for Entry of Interim and

         Final Orders (I) Pursuant to 11 U.S.C. §§ 105, 361, 362, 363, 364, 507, and 552 Authorizing

         Debtors to (A) Obtain Postpetition Secured Financing, (B) Use Cash Collateral, (C) Grant

         Adequate Protection to Prepetition Secured Parties; (II) Modifying the Automatic Stay;

         (III) Scheduling a Final Hearing Pursuant to Bankruptcy Rules 4001(b) and 4001(c); and

         (IV) Granting Related Relief [D.I. 724] (the “Final DIP Order”).4

                                                     RELIEF REQUESTED

                  11.      Pursuant to sections 105(a) and 363 of the Bankruptcy Code, the Debtors request

         entry of the Sale Order substantially in the form of Exhibit A hereto (i) authorizing the closing of

         the Sale pursuant to the Purchase Agreement, (ii) authorizing and approving the Purchase

         Agreement, and (iii) granting related relief.

                  12.      The Debtors further request that filing of a copy of an order granting the relief

         sought herein in Garfield County, Colorado may be relied upon by the Title Insurer to issue title

         insurance policies on the Property.


         4
                  A search of the land records as reflected in the title report dated October 18, 2018 (attached as Exhibit C
         hereto) reveals no cognizable interest of any lienholder (whether a Debtor lienholder or otherwise).
01:23901421.1
                                                                    6
                      Case 17-12560-KJC            Doc 3063     Filed 11/27/18      Page 7 of 11



                13.     The Debtors further request authority to pay the Broker Fee to Sotheby’s out of

         the sale proceeds in the amount of up to 5% of gross sale proceeds.

                                        BASIS FOR RELIEF REQUESTED

         I.     Section 363 of the Bankruptcy Code Authorizes the Proposed Sale

                14.     Section 363(c)(1) of the Bankruptcy Code provides that where, as here, the

         Debtors are authorized to operate their business under section 1108 of the Bankruptcy Code, the

         Debtors may enter into transactions, including the sale of property of the estate, in the ordinary

         course of business, without notice or a hearing. 11 U.S.C. § 363(c)(1). Because the Debtors

         believe that the Sale is within the ordinary course of their operations, the Sale should be

         approved pursuant to section 363(c)(1).

                15.     The Debtors do not believe that section 363(b)(1), which authorizes the sale of

         property of the estate other than in the ordinary course of business, applies to the Sale. Even if

         section 363(b)(1) did apply, however, authorization of the Sale would be appropriate because the

         Debtors have a sound business justification for the Sale. See, e.g., Myers v. Martin (In re

         Martin), 91 F.3d 389, 395 (3d Cir. 1996) (noting that under normal circumstances, courts defer

         to a trustee’s judgment concerning use of property under section 363(b) when there is a

         legitimate business justification); In re Lionel Corp., 722 F.2d 1063, 1069 (2d Cir. 1983)

         (“Section 363(b) of the Code seems on its face to confer upon the bankruptcy judge virtually

         unfettered discretion to authorize the use, sale or lease, other than in the ordinary course of

         business, of property of the estate.”).

                16.     In determining whether a sale satisfies the business judgment standard, courts in

         the Third Circuit require: (i) that there be sound business reasons for the sale; (ii) that accurate

         and reasonable notice of the sale be given; (iii) that the sale yield an adequate price, i.e., one that

         is fair and reasonable; and (iv) that the parties to the sale have acted in good faith. See, e.g.,
01:23901421.1
                                                            7
                       Case 17-12560-KJC         Doc 3063      Filed 11/27/18      Page 8 of 11



         Titusville Country Club v. Pennbank (In re Titusville Country Club), 128 B.R. 396, 399 (Bankr.

         W.D. Pa. 1991).

                 17.     The proposed Sale unquestionably satisfies the foregoing test. First, the Sale is

         supported by sound business reasons: after marketing the Property, including through

         announcements to the brokerage community and advertisements in various publications, the

         Debtors have concluded that selling the Property on an “as is” basis pursuant to the Purchaser’s

         all cash offer is the best way to maximize value for the Debtors’ estates. Sharp Decl. ¶ 4.

         Second, the Debtors have provided reasonable and adequate notice of the sale to interested

         parties by serving notice of this Motion in accordance with Local Rule 9013-1(m), and submit

         that no other or further notice is necessary. Third, the Debtors believe that the Purchase

         Agreement and the all cash purchase price reflected therein represent a fair and reasonable offer

         for the Property relative to comparable properties in the market in which the Property is located.

         Sharp Decl. ¶ 4. The Purchaser’s all cash offer under the Purchase Agreement is the highest and

         otherwise best offer (and the only offer) the Debtors have received for the Property and it

         exceeds the Seller’s purchase price by $60,000. Id. Fourth, the Debtors submit that the Purchase

         Agreement was the product of good faith, arm’s-length negotiations between the Purchaser and

         the Seller. Id. ¶ 6.

                 18.     The Purchaser is not related to or an affiliate of the Debtors or any of their

         insiders or former insiders. Id. No non-debtor affiliate or current or former officer, director,

         employee, managing member or affiliate of any of the Debtors (other than Seller) is a party to, or

         broker in connection with, the Sale, other than as set forth in footnote 3 with respect to Ms.

         Gee’s service as Seller’s broker. Accordingly, the Debtors believe that the Purchaser should be

         entitled to the protections of section 363(m) of the Bankruptcy Code.


01:23901421.1
                                                           8
                        Case 17-12560-KJC               Doc 3063        Filed 11/27/18         Page 9 of 11



         II.      The Debtors Should Be Permitted to Sell the Property Free and Clear

                  19.      Pursuant to section 363(f) of the Bankruptcy Code, a debtor may sell property free

         and clear of liens, claims, encumbrances, and other interests if any one of the following

         conditions is satisfied:

                  (1)    applicable nonbankruptcy law permits the sale of such property free and clear of
                  such interest;

                  (2)      the [lienholder or claimholder] consents;

                  (3)     such interest is a lien and the price at which such property is to be sold is greater
                  than the aggregate value of all liens on such property;

                  (4)      such interest is in bona fide dispute; or

                  (5)    [the lienholder or claimholder] could be compelled, in a legal or equitable
                  proceeding, to accept a money satisfaction of such interest.

         11 U.S.C. § 363(f).

                  20.      Because section 363(f) is stated in the disjunctive, satisfaction of any one of its

         five requirements will suffice to warrant approval of the proposed Sale of the Property.5 See

         Folger Adam Sec., Inc. v. DeMatteis/MacGregor, JV, 209 F.3d 252, 257 (3d Cir. 2000) (section

         363(f) authorizes the sale of a debtor’s assets free and clear of all liens, claims, and interests if

         “any one of [the] five prescribed conditions” is satisfied); In re Kellstrom Indus., Inc., 282 B.R.

         787, 793 (Bankr. D. Del. 2002) (property may be sold “free and clear” if at least one of the




         5
                   Moreover, if a holder of a lien, claim, encumbrance, or other interest receives the requisite notice of this
         Motion and does not object within the prescribed time period, such holder will be deemed to have consented to the
         proposed Sale, and the Property may then be sold free and clear of such holder’s liens, claims, encumbrances, and
         other interests pursuant to the terms proposed herein. See, e.g., Veltman v. Whetzel, 93 F.3d 517, 521 (8th Cir. 1996)
         (failure to object to notice of sale or attend hearing deemed consent to sale for purposes of section 363 of the
         Bankruptcy Code); In re Enron Corp., No. 01-16034 (AJG), 2004 WL 5361245, at *2 (Bankr. S.D.N.Y. Feb. 5,
         2004) (same); Hargrave v. Pemberton (In re Tabone, Inc.), 175 B.R. 855, 858 (Bankr. D.N.J. 1994) (same); In re
         Christ Hosp., 502 B.R. 158, 174 (Bankr. D.N.J. 2013) (“Given adequate notice, failure to object to a § 363 sale has
         been found to constitute consent per § 363(f)(2) to a “free and clear” sale of the non-objector’s interests in property
         being sold.”) (citations omitted), aff’d, Civil Action No. 14-472 ES, 2014 WL 4613316 (D.N.J. Sept. 12, 2014).

01:23901421.1
                                                                    9
                       Case 17-12560-KJC         Doc 3063       Filed 11/27/18     Page 10 of 11



         subsections of section 363(f) is met); In re DVI, Inc., 306 B.R. 496, 504 (Bankr. D. Del. 2004)

         (upholding sale of debtors’ property free and clear where there was a bona fide dispute).

                 21.     The Debtors are unaware of any liens, claims, encumbrances, or interests existing

         against the Property. However, to the extent any of the foregoing exist, the Debtors respectfully

         submit that they will satisfy one of the subsections of 363(f) with respect to any such lien, claim,

         encumbrance, or interest.

                                        REQUEST FOR WAIVER OF STAY

                 22.     Any delay in permitting the Debtors to close the Sale could jeopardize the Sale

         with the Purchaser and therefore would be detrimental to the Debtors, their creditors, and their

         estates. Accordingly, and to successfully implement the foregoing, the Debtors seek a waiver of

         the notice requirements under Bankruptcy Rule 6004(a) and the 14-day stay of any order

         authorizing the use, sale, or lease of property under Bankruptcy Rule 6004(h).

                                                        NOTICE

                 23.     The Debtors have provided notice of this Motion to: (i) the Office of the United

         States Trustee for the District of Delaware, (ii) counsel to the DIP Lender, (iii) counsel for the

         Committee, (iv) counsel for the Noteholder Group, (v) counsel for the Unitholder Group, (vi) all

         Noteholders known by the Debtors to have interests in any loan documents associated with the

         Property, (vii) all contractors and contract counterparties known by the Debtors to have been

         associated with the Property, (viii) the Title Insurer, (ix) Sotheby’s, and (x) all parties that, as of

         the filing of this Motion, have requested notice in these Chapter 11 Cases pursuant to Local Rule

         2002-1. In light of the nature of the relief requested herein, the Debtors submit that no other or

         further notice is necessary.




01:23901421.1
                                                           10
                      Case 17-12560-KJC        Doc 3063       Filed 11/27/18    Page 11 of 11



                                                  CONCLUSION

                  WHEREFORE, the Debtors respectfully request that the Court enter an order

         substantially in the form filed herewith, granting the relief requested herein and such other and

         further relief as may be just and proper under the circumstances.

         Dated:     November 27, 2018            /s/ Betsy L. Feldman                  .
                    Wilmington, Delaware         YOUNG CONAWAY STARGATT & TAYLOR, LLP
                                                 Sean M. Beach (No. 4070)
                                                 Edmon L. Morton (No. 3856)
                                                 Ian J. Bambrick (No. 5455)
                                                 Betsy L. Feldman (No. 6410)
                                                 Rodney Square, 1000 North King Street
                                                 Wilmington, Delaware 19801
                                                 Tel: (302) 571-6600
                                                 Fax: (302) 571-1253

                                                 -and-

                                                 KLEE, TUCHIN, BOGDANOFF & STERN LLP
                                                 Kenneth N. Klee (pro hac vice)
                                                 Michael L. Tuchin (pro hac vice)
                                                 David A. Fidler (pro hac vice)
                                                 Jonathan M. Weiss (pro hac vice)
                                                 1999 Avenue of the Stars, 39th Floor
                                                 Los Angeles, California 90067

                                                 Counsel to the Debtors and Debtors in Possession




01:23901421.1
                                                         11
